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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:18-cv-00727-WYD-MEH

  ANDREW ROGERS,

        Plaintiff,

  v.

  HONDA FINANCIAL SERVICES a/k/a
  AMERICAN HONDA FINANCE
  CORPORATION,

        Defendant.


               AGREED STIPULATION OF DISMISSAL WITH PREJUDICE


        IT IS HEREBY STIPULATED AND AGREED, by and between the Plaintiff,

  ANDREW ROGERS and the Defendant HONDA FINANCIAL SERVICES a/k/a

  AMERICAN HONDA FINANCE CORPORATION, through their respective counsel and

  pursuant to Federal Rule of Civil Procedure 41, that the above-captioned case be

  dismissed with prejudice. Each party shall bear its own costs and attorney fees.



  Dated: November 27, 2018                 Respectfully submitted,

  ANDREW ROGERS                            HONDA FINANCIAL SERVICES a/k/a
                                           AMERICAN HONDA FINANCE CORPORATION

  s/ Omar T. Sulaiman                      s/ Scott D. Sweeney (with consent)
  Omar T. Sulaiman                         Scott D. Sweeney
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                                   CERTIFICATE OF SERVICE

         I hereby certify that I today caused a copy of the foregoing document to be

  electronically filed with the Clerk of Court using the CM/ECF system which will be sent

  to all attorneys of record.



                                                    s/ Omar T. Sulaiman




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